Case 2:18-cv-11273-MCA-LDW Document 1397 Filed 08/20/21 Page 1 of 2 PageID: 42124




                                         August 20, 2021

  Via CM/ECF

  Hon. Leda Dunn Wettre, U.S.M.J.
  United States District Court for the
  District of New Jersey
  Martin Luther King Building &
  U.S. Courthouse
  50 Walnut Street
  Newark, NJ 07101

                 Re:     Occidental Chemical Corp. v. 21st Century Fox Am. Inc., et al.
                         Civil Action No. 2:18-cv-11273

  Dear Judge Wettre:

         Please accept this letter request on behalf of Third Party Defendant Passaic Valley
  Sewerage Commissioners (“PVSC”) requesting an extension of the briefing schedule for the
  appeal before you by the Small Parties Group (“SPG”) (ECF No. 1268) of the Final Decision Of
  Special Master Granting In Part And Denying In Part SPG’s Motion To Compel Production Of
  Documents Withheld As Privileged Or Protected, dated June 29, 2021 (“Final Decision Appeal;”
  ECF No. 1251).

          As background, PVSC appeared and filed its first responsive pleadings in the case on
  August 16, 2021. PVSC’s first opportunity to participate in a status conference with the Special
  Master and other parties will be on August 25, 2021. Under Stipulations and Orders, several
  other recently added Third Party Defendants have not yet filed responses to Defendants’ Third
  Party Complaint, and none of the Third Party Defendants (except PVSC) has responded yet to
  Plaintiff’s Amended and Third Party Complaint. The current filing deadline for those responses
  is September 17, 2021 (“Response Deadline”).

        The expansion of an already large and complex case after three years to include over 40
  government entities is a substantial change, requiring appropriate scheduling accommodations
Case 2:18-cv-11273-MCA-LDW Document 1397 Filed 08/20/21 Page 2 of 2 PageID: 42125

  Hon. Leda Dunn Wettre
  August 20, 2021
  Page 2


  for the fair and orderly processing of the case going forward without hardship or prejudice to the
  newly added Third Party Defendants. In that connection, the Final Decision Appeal concerns
  documents previously produced in a now concluded New Jersey state court case regarding the
  contamination of the Passaic River, which are highly probative on Plaintiff’s liability for the
  release of hazardous substances at issue in this case.

          The disputes between the SPG and Plaintiff regarding these documents have been
  occurring for over a year. PVSC’s position is that decision-making and determining the law of
  the case on evidentiary issues critical to all recently added Third Party Defendants should be
  paced, and extended to afford them an appropriate opportunity after they have appeared and
  responded to both Third Party Complaints to carefully review the issues in the Final Decision
  Appeal and to file additional briefing on the matter, if they so choose. Accordingly, PVSC
  respectfully requests that the Court reopen the briefing schedule on the Final Decision Appeal to
  allow the Third Party Defendants an opportunity to participate, and not render any ruling until
  after the end of the extended briefing period. In light of the current Response Deadline for the
  other Third Party Defendants, PVSC would request that all Third Party Defendants have to and
  including October 1, 2021 (two weeks after the Response Deadline) to file a brief regarding the
  Final Decision Appeal.

         Thank you for Your Honor’s consideration of this matter.

                                               Respectfully yours,


                                               Kirstin Bohn
                                               For the Firm

  KB/GG
  c: Counsel of Record (via ECF)
